
47 So.3d 341 (2010)
Edwin Jose GARRIDO, Appellant,
v.
STATE of Florida, Appellee.
No. 4D08-4613.
District Court of Appeal of Florida, Fourth District.
October 20, 2010.
Rehearing Denied December 7, 2010.
Jeffrey H. Garland of Jeffrey H. Garland, P.A., Fort Pierce, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Melanie Dale Surber, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Affirmed. See Farinas v. State, 569 So.2d 425, 429 n. 7 (Fla.1990) ("It is well-established law that where the trial judge has extended counsel an opportunity to cure any error, and counsel fails to take advantage of the opportunity, such error, if any, was invited and will not warrant reversal.") (citation omitted).
GROSS, C.J., CIKLIN, J., and KEYSER, JANIS BRUSTARES, Associate Judge, concur.
